     Case 5:18-cv-01052-GLS-ATB Document 17 Filed 01/02/19 Page 1 of 4


                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF NEW YORK
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MATTHEW DeROCHA,
                                      Plaintiff,
              v.                                    5:18-CV-1052
                                                    (GLS/ATB)
NORTH SYRACUSE POLICE,
                                      Defendant.
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MATTHEW DeROCHA
Plaintiff, pro se

ANDREW T. BAXTER, United States Magistrate Judge

                                        ORDER

I.    Procedural History

      Plaintiff filed his original complaint in this case on September 4, 2018, together
with an incomplete application to proceed in forma pauperis (“IFP”). (Dkt. Nos. 1, 2). I
conducted an initial review of the complaint, and issued an Order and Report-
Recommendation (“ORR”), ordering that plaintiff properly complete his IFP
application, and recommending dismissal of his complaint on the merits with leave to
amend. (Dkt. No. 5). On October 22, 2018, plaintiff filed a renewed motion to proceed
IFP, and instead of filing objections to my ORR, he filed an amended complaint. (Dkt.
Nos. 10, 11). On October 24, 2018, I found that plaintiff properly completed his

motion to proceed IFP, and that he meets the financial criteria to proceed without
payment of fees. (Dkt. No. 12). Thus, I granted IFP for purposes of filing and for

consideration of my ORR. (Id.) On October 29, 2018, Senior Judge Gary L. Sharpe,
adopted my ORR and sent the amended complaint back to me for initial review.
      On November 27, 2018, I recommended dismissing plaintiff’s false arrest claims,
but recommended that the malicious prosecution claims go forward. (Dkt. No. 14).
       Case 5:18-cv-01052-GLS-ATB Document 17 Filed 01/02/19 Page 2 of 4


Generally, an amended complaint must supercede the original. Plaintiff in this case
attempted to cure the defects in the original complaint, but did not quite include all the

relevant allegations in the proposed amended complaint. Upon review, I determined
that rather than ask plaintiff to amend a second time, I would order the clerk to attach

the original complaint (Dkt. No. 1) to the amended complaint (Dkt. No. 11) and file
them together as the operative amended complaint. (Dkt. No. 14 at 17). The Clerk

complied with my order and sent the ORR to Judge Sharpe for his review. The

operative complaint has been filed as Docket No. 15.

       On December 21, 2018, Judge Sharpe adopted my ORR and sent the case back to
me for a further order regarding service of the complaint on the remaining defendants.

(Dkt. No. 16). Judge Sharpe’s order also directed me to review a second “amended
complaint,” which appeared to have been filed by the plaintiff. (Dkt. No. 16 at 2 (citing
Dkt. No. 15)). However, as stated above, Docket No. 15 was filed by the Clerk at my
direction on November 27, 2018, and is now the operative amended complaint.1 Thus, I
may proceed to order service of the amended complaint, as modified by my ORR and
Judge Sharpe’s order, dismissing the false arrest claims, but allowing the malicious
prosecution claims to proceed.

       WHEREFORE, based on the findings above, it is

       ORDERED, that plaintiff’s motion to proceed IFP is GRANTED for all relevant

purposes,2 and it is

       ORDERED, that Docket No. 15 is the operative amended complaint in this


       1
           Plaintiff did not file a second amended complaint without authorization.
       2
         Although his in forma pauperis application has been granted, plaintiff will still be required to
pay fees that he may incur in this action, including copying and/or witness fees.

                                                     2
      Case 5:18-cv-01052-GLS-ATB Document 17 Filed 01/02/19 Page 3 of 4


action, and it is

       ORDERED, that only plaintiff’s malicious prosecution claim against defendants

Tripp and Linstruth survives initial review and requires a response, and it is

       ORDERED, that Officers Linstruth “ID#114” and Officer Tripp be added as

individual defendants in this action, and it is

       ORDERED, that the Village of North Syracuse be substituted as a defendant in

place of the North Syracuse Police, only for purposes of properly identifying and

serving Officers Linstruth and Tripp,3 and it is

       ORDERED, that the Clerk shall send a copy of the amended complaint (Dkt. No.

15); a copy of this court’s ORR (Dkt. No. 14); Judge Sharpe’s Order (Dkt. No. 16) and
this Decision and Order to the Village of North Syracuse, 600 South Bay Rd., North
Syracuse, NY 13212. To the extent possible, the Village of North Syracuse is hereby

requested to produce the information specified above regarding the full names of
defendants Tripp and Linstruth so that they may be properly served with process within

thirty (30) days of the filing date of this Decision and Order. Upon receipt of a

response from the Village of North Syracuse as directed above, the Clerk shall return
this file to me for any further necessary orders directing service on the individual
defendants; and it is further

       ORDERED, that all pleadings, motions and other documents relating to this

action must bear the case number assigned to this action and be filed with the Clerk of
the United States District Court, Northern District of New York, 7th Floor, Federal
Building, 100 S. Clinton St., Syracuse, New York 13261-7367. Plaintiff must comply


       3
           The defendants cannot be served until they are properly identified.

                                                     3
      Case 5:18-cv-01052-GLS-ATB Document 17 Filed 01/02/19 Page 4 of 4


with any requests by the Clerk's Office for any documents that are necessary to
maintain this action. All parties must comply with Local Rule 7.1 of the Northern

District of New York in filing motions; motions will be decided on submitted papers,
without oral argument, unless otherwise ordered by this Court. Plaintiff is also required

to promptly notify the Clerk's Office and all parties or their counsel, in writing, of any
change in his address; his failure to do so will result in the dismissal of this action; and

it is further

       ORDERED, that the Clerk serve a copy of this Decision and Order on plaintiff.

Dated: January 2, 2019




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